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UNITED STATES DISTRICT COURT FOR THE

 

SOUTHERN DISTRICT OF WEST VIRGINIA
BECKLEY GRAND JURY 2017 May = | 9018
MAY 1, 2018 SESSION

 

 

 

 

 

 

 

UNITED STATES OF AMERICA

 

v. CRIMINAL NO. 3:18 er 0009FE
8 U.S.C. § 1326(a)
8 U.S.C. § 1326(b) (1)

EDUARDO MARTINEZ-CAMPEANO,
also known as “Daniel Gonzalez-Sotelo”

INDICTMENT
(Reentry of a Removed Alien)
The Grand Jury Charges:

1. On or about January 30, 2007, defendant EDUARDO
MARTINEZ-CAMPEANO, also known as “Daniel Gonzalez-Sotelo”,
(hereinafter “EDUARDO MARTINEZ-CAMPEANO”) an alien, was found at
or near Osage Beach, Missouri, and was convicted of the felony
offense of forgery (Felony C RSMo 570.090) in the 26th Judicial
Circuit Court of Camden County, Missouri on or about March 29,
2007, and was subsequently removed from the United States to Mexico
on or about April 14, 2007.

2. On or about November 8, 2010, defendant EDUARDO
MARTINEZ-CAMPEANO, an alien, was found at or near Osage Beach,

Missouri, and was subsequently removed from the United States to

Mexico on or about November 19, 2010.

 
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3. On or about June 15, 2012, defendant BDUARDO MARTINEZ-—
CAMPEANO, an alien, was found at or near Cotulla, Texas, was
convicted on or about October 31, 2012, in the United States
District Court, Southern District of Texas of the felony offense
of reentry of a deported alien, in violation of 8 U.S.C. § 1326(a)
and (b) (2), and was subsequently removed from the United States to
Mexico, on or about April 29, 2013.

4, On or about April 10, 2018, at or near Huntington, Cabell
County, West Virginia, and within the Southern District of West
Virginia and elsewhere, defendant EDUARDO MARTINEZ-CAMPEANO, an
alien, was subsequent ly found in the United States after having
been convicted of a felony offense and subsequently removed from
the United States, and had not obtained the express consent of the
Secretary of Homeland Security to reapply for admission to the

United States.

 
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In violation of Title 8, United States Code, Sections 1326 (a)

and (b) (1).

MICHAEL B. STUART
United States Attorney

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By: at 4 Ose
ERIK S. GOES
Assistant United States Attorney

 

 
